CM/ECF-GA Northern District Court                                    https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?140867737226392-...
                      Case 1:19-cr-00179-MLB-JSA Document 103 Filed 05/20/21 Page 1 of 1




                                                 1:19-cr-00179-MLB-JSA
                                                     USA v. Hubbard
                                                Honorable Michael L. Brown

                                Minute Sheet for proceedings held In Open Court on 05/20/2021.


              TIME COURT COMMENCED: 3:15 P.M.
              TIME COURT CONCLUDED: 4:15 P.M.                       COURT REPORTER: Jana Colter
              TIME IN COURT: 1:00                                   DEPUTY CLERK: Sam Johnston
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):               [1]Michael Hubbard Present at proceedings
         ATTORNEY(S)                Lawanda Hodges representing Michael Hubbard
         PRESENT:                   D'Juan Jones representing USA
                                    Jessica Morris representing USA
         PROCEEDING
                                    Pretrial Conference;
         CATEGORY:
         MINUTE TEXT:               Pretrial Conference: The Court heard from the parties regard the
                                    Governments Supplemental Motion in Limine [101]. The Court orally
                                    granted the portion of the motion to exclude good character evidence and
                                    deferred its ruling as to the motion to self-serving hearsay and to voluntary
                                    intoxication defense. The Court directed the parties to submit, two weeks
                                    prior to the start of trial, case law concerning the jury determination
                                    question. Conference completed




1 of 1                                                                                                               5/20/2021, 4:30 PM
